      Case 4:20-cv-02128 Document 5 Filed on 06/22/20 in TXSD Page 1 of 1
                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                           UNITED STATES DISTRICT COURT                                June 22, 2020
                            SOUTHERN DISTRICT OF TEXAS                              David J. Bradley, Clerk
                                HOUSTON DIVISION

ROSALIE CONNER,                                  §
                                                 §
        Plaintiff,                               §
VS.                                              §   CIVIL ACTION NO. 4:20-CV-02128
                                                 §
PHH MORTGAGE CORPORATION                         §
and                                              §
DEUTSCHE BANK TRUST COMPANY                      §
AMERICAS AS TRUSTEE FOR RALI                     §
SERIES 2006-QS6 POWER DEFAULT                    §
SERVICES,                                        §
                                                 §
        Defendants.                              §

                                           ORDER

       A suggestion of bankruptcy has been filed in this cause by the plaintiff, Rosalie Conner.

The plaintiff/debtor filed a petition under Chapter 13 of the Bankruptcy Code in the United

States Bankruptcy Court for the Southern District of Texas, Case No. 20-32875. A petition filed

under 11 U.S.C. §§301, et seq., operates as a stay of a judicial proceeding that was commenced

against the debtor before the bankruptcy proceeding. 11 U.S.C. §362(a)(1). Accordingly, this

case is STAYED as to plaintiff Rosalie Conner.

       It is so ORDERED.

       SIGNED on this 22nd day of June, 2020.


                                                 ___________________________________
                                                 Kenneth M. Hoyt
                                                 United States District Judge




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